           Case 2:07-cr-00248-WBS Document 873 Filed 05/25/11 Page 1 of 3


 1   Robert M. Holley (SBN 50769)
     Attorney at law
 2   State Bar No. 50769
     331 J Street, Suite #200
 3   Sacramento, California 95814
     Telephone: (916) 443-2213
 4
 5   Attorney for Defendant David Perez Ramirez
 6
                         IN THE UNITED STATES DISTRICT COURT
 7
                            EASTERN DISTRICT OF CALIFORNIA
 8
 9
     UNITED STATES OF AMERICA,        ) NO. CRS 07-248-15 WBS
10                                    )
                    Plaintiff,        ) STIPULATION AND [PROPOSED]
11                                    ) ORDER CONTINUING
          v.                          ) SENTENCING DATE
12                                    )
     DAVID PEREZ RAMIREZ,             )
13                                    )
                    Defendant.        )
14                                    )
     ________________________________ )
15
16
17                      REASONS FOR THE REQUEST TO CONTINUE
18             The final presentence report has been received by both
19   parties and contains additional information to which the defense has
20   not been privy and which needs to be reviewed before formal objections
21   can be adequately prepared and filed.      Additionally, on May 17, 2011,
22   the government sent to the probation officer a letter entitled
23   “Informal Objection to Revised PSR for DAVID RAMIREZ.”         The letter
24   contains references to JENCKS material which has not yet been provided
25   to the defense.   The issues presented therein appear to be important
26   and the defense is going to need the additional time requested to
27   determine the strength and veracity of the evidence to which it is not
28   yet privy and to prepare the appropriate response for the Court.
          Case 2:07-cr-00248-WBS Document 873 Filed 05/25/11 Page 2 of 3


 1                                     STIPULATION
 2             It is hereby stipulated by and between the parties hereto,
 3   through their respective undersigned counsel, that the sentencing
 4   hearing date presently scheduled for May 31, 2011 at 8:30 a.m. be
 5   continued to Monday, June 27, 2011 at 8:30 a.m. before the Honorable
 6   William B. Shubb, United States District Judge.
 7
 8             The parties hereby stipulate to and request the following
 9   revised schedule concerning the presentence investigation report:
10             Additional informal objections
               to the revised Presentence Report
11             due to probation officer and counsel . . . . May 30, 2011
12             Final and possibly further revised
               Presentence Report disclosed . . . . . . . . June 6, 2011
13
               Formal Objections to Presentence Report
14             due and filed . . . . . . . . . . . . . . . .June 13, 2011
15             Hearing date on sentencing . . . . . . . . . June 27, 2011
16
17             Dated:   May 20, 2011
                                                 /S/ Robert M. Holley
18                                               ____________________________
                                                 Robert M. Holley
19                                               Counsel for Mr. Ramirez
20                                               /S/ Jason Hitt
                                                 ____________________________
21                                               Mr. Jason Hitt
                                                 Counsel for the United States
22
23
24
25
26
27
28


                                            2
          Case 2:07-cr-00248-WBS Document 873 Filed 05/25/11 Page 3 of 3


 1
                                         ORDER
 2
              Good cause appearing, the above-stated calendaring change is
 3
     so ordered.
 4
              Dated: May 24, 2011
 5
 6
 7
 8
 9
10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28


                                            3
